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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 6 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 8 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 9 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 10 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 12 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 13 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 14 of 74 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-2 Filed 10/20/08 Page 19 of 74 Page ID
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